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IN THE UNITED STATES DISTRICT COURT 05 SEP __l PH 5, 10

FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION THOMAS tt GOU.D
CLEH§L U.S_., DETR!CT OOtBT
wm cr ttEHtPHtS
R. DAVID THOMAS, et al.,
Plaimiffs, ` Case No.: 01 -MC-00034 D

V.

THE UNITED COMPANY, et al.,

Defendant.

 

ORDER CLOS]NG MISCELLANEOUS CASE

 

It appearing to the court that the relief sought in this matter has been resolved.

It is therefore ordered that this case is dismissed as moot,without legal prejudice

rr ls so oRDERED this [£ day 01§%&,£££ 2005.

 

ED STATES DISTRICT JUDGE

 
  

Th|s document entered on the docket Q '
thh Rule 55 and/or 32(h) FF\CrP on

 

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Honorable Bernice Donald
US DISTRICT COURT

